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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


ROBERTO ALMODOVAR, JR.,                   )
                                          )
            Plaintiff,                    ) No. 18-cv-2341
                                          )
                        v.                ) Judge Jeffrey I. Cummings
                                          )
REYNALDO GUEVARA, et al.                  )
                                          )
            Defendants.                   )
____________________________________________________________________________

WILLIAM NEGRON,                                        )
                                                       )
               Plaintiff,                              )    No. 18-cv-2701
                                                       )
                               v.                      )    Judge Jeffrey I. Cummings
                                                       )
REYNALDO GUEVARA, et al.                               )
                                                       )
               Defendants.                             )
                                                       )


                            MEMORANDUM OPINION AND ORDER

        Following their exoneration, wrongfully convicted plaintiffs Roberto Almodovar and

William Negron each brought suit against Reynaldo Guevara, Ernest Halvorsen,1 Mark

Olszewski, and the City of Chicago alleging federal and state law claims, including that

defendants violated, and conspired to violate, their constitutional rights. Olszewski has since

moved for summary judgment in both cases. (Almodovar Dckt. #207; Negron Dckt. #193).




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  Defendant Halvorsen is now deceased and was substituted as a party-defendant by his surviving spouse.
(Almodovar Dckt. #81; Negron Dckt. #82). The Court references Halvorsen as the party-defendant
throughout this Memorandum Opinion and Order.


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       In essence, Olszewski’s motions focus on whether plaintiffs have presented sufficient

evidence to show that he was personally involved in a conspiracy with detectives Guevera and

Halvorsen to violate plaintiffs’ constitutional rights under Section 1983. Specifically, the record

shows that Olszewski provided a previously taken photograph of Almodovar from an unrelated

arrest to defendant detectives, and that he provided a previously taken photograph of Negron

from a different unrelated encounter to non-defendant officers, who in turn provided it to

defendant detectives. Is this evidence (along with the other evidence presented by plaintiffs)

sufficient to raise a genuine dispute of material fact as to whether Olszewski was personally

involved in a conspiracy with defendant detectives to violate plaintiffs’ constitutional rights?

The Court finds that it is not. Without sufficient evidence of Olszewski’s involvement in a

conspiracy, there is insufficient evidence to raise a genuine dispute of fact as to whether he was

personally involved in the federal constitutional violations that plaintiffs assert. Thus, for the

reasons set forth below, Olszewski’s motions for summary judgment are granted on plaintiffs’

federal claims and the Court relinquishes jurisdiction as to plaintiffs’ state law claims against

him.

I. LEGAL STANDARD

       Summary judgment is appropriate when the moving party shows “that there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter of

law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). “A genuine dispute is present

if a reasonable jury could return a verdict for the nonmoving party, and a fact is material if it

might bear on the outcome of the case.” Wayland v. OSF Healthcare Sys., 94 F.4th 654, 657

(7th Cir. 2024); FKFJ, Inc. v. Vill. of Worth, 11 F.4th 574, 584 (7th Cir. 2021) (the existence of a

factual dispute between the parties will not preclude summary judgment unless it is a genuine




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dispute as to a material fact); Hottenroth v. Vill. of Slinger, 388 F.3d 1015, 1027 (7th Cir. 2004)

(issues of material fact are material if they are outcome determinative).

        When the moving party has met that burden, the non-moving party cannot rely on mere

conclusions and allegations to concoct factual issues. Balderston v. Fairbanks Morse Engine

Div. of Coltec Indus., 328 F.3d 309, 320 (7th Cir. 2003). Instead, it must “marshal and present

the court with the evidence [it] contends will prove [its] case.” Goodman v. Nat. Sec. Agency,

Inc., 621 F.3d 651, 654 (7th Cir. 2010). To determine whether a genuine issue of material fact

exists, all facts and reasonable inferences must be drawn in the light most favorable to the non-

moving party. King v. Hendricks Cty. Commissioners, 954 F.3d 981, 984 (7th Cir. 2020).

Summary judgment is granted only if “no reasonable trier of fact could find in favor of the non-

moving party.” Hoppe v. Lewis Univ., 692 F.3d 833, 838 (7th Cir. 2012) (cleaned up).

II. FACTUAL RECORD

        The Court draws the factual record from:

                the parties’ pleadings;

                 Olszewski’s Local Rule 56.1 statement of material facts in the Almodovar matter
                 (“DSOF”) (Dckt. #209)2 and accompanying exhibits (Dckt. #209-1 to #209-44);

                Plaintiffs’ joint Rule 56.1 statement in opposition to DSOF (“DSOF Resp.”)
                 (Dckt. #230);

                Plaintiffs’ Rule 56.1 statement of additional facts in the Almodovar matter
                 (“PSAF”) (Dckt. #229) and accompanying exhibits (Dckt. #229-1 to #229-26);

                 Olszewski’s response to PSAF (“PSAF Resp.”) (Dckt. #242) and accompanying
                 exhibit (Dckt. #242-1);

                 Olszewski’s Local Rule 56.1 statement of material facts in the Negron matter
                 (“Negron DSOF”) (Negron Dckt. #195) and accompanying exhibits (Negron
                 Dckt. #195-1 to 195-44);

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 Unless indicated otherwise, all docket entries refer to the docket for Almodovar Jr. v. Guevara, et al.,
No. 18-cv-2341.


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               Plaintiffs’ joint Rule 56.1 statement in opposition to Negron DSOF (Negron
                Dckt. #216) and accompanying exhibits (Negron Dckt. #213 to #213-25);

               Plaintiffs’ Rule 56.1 statement of additional facts in the Negron matter (“Negron
                PSAF”) (Negron Dckt. #217); and

                Olszewski’s response to Negron PSAF (“Negron PSAF Resp.”) (Dckt. #226);
                and accompanying exhibits (Dckt. #226-1 to #226-3).

       The following facts are undisputed unless otherwise noted.

       Plaintiffs Roberto Almodovar (“Almodovar”) and William Negron (“Negron”) were

arrested, prosecuted, and convicted of the murders of Jorge Rodriguez (“Rodriguez”) and Amy

Merkes (“Merkes”), and the attempted murders of Jackie Grande (“Grande”) and Kennelly Saez

(“Saez”). (DSOF Resp. ¶3). At all times relevant to this matter, defendant Mark Olszewski

(“Olszewski”) was a tactical officer with the Chicago Police Department, (id. ¶4), assigned to an

eight-man tactical gang team in the 25th District. (PSAF Resp. ¶1). At all times relevant to this

matter, defendants Reynaldo Guevara (“Guevara”) and Ernest Halvorsen (“Halvorsen”) were

detectives with the Chicago Police Department. (DSOF Resp. ¶¶5–6).

       Almodovar testified that he was a member of the Insane Dragons gang until the end of

1993 or beginning of 1994. (Dckt. #229-2 at 11). Negron similarly testified he was a member of

the Insane Dragons prior to his 1994 arrest. (Dckt. #209-23 at 8).

           A. Contact Between Plaintiffs and Olszewski Prior to August 30, 1994

       Almodovar encountered Olszewski several times prior to his arrests that are central to

this matter. (PSAF Resp. ¶¶2–6). The first encounter occurred in 1993, as Almodovar headed to

his cousin’s house in the Sayre Park area of Chicago. (Id. ¶2). Olszewski drove up to

Almodovar and asked him where he was from. (Id.). When Almodovar informed Olszewski that




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he was from Humboldt Park, Olszewski told Almodovar, “take your spic-ass back to Humboldt

Park. You aren’t going to mess up my neighborhood.” (Id.).

       Almodovar and Olszewski encountered each other again in August 1993, when

Olszewski confronted Almodovar in a Burger King and accused him of putting graffiti on the

property. (Id. ¶4). Olszewski arrested Almodovar, and charged Almodovar with “damage to

property,” but the case was dismissed. (Id.). Prior to September 1, 1994, Olszewski and/or other

25th District officers arrested Almodovar at least a couple of times. (Id. ¶11).

           B. Olszewski Arrests Negron in Mid-August 1994 and Takes His Photo

       Negron contends that he first encountered Olszewski in mid-August 1994 when

Olszewski pulled him over, but did not arrest him. (Negron PSAF Resp. ¶4; Dckt. #213-2 at 42).

Olszewski then directed Negron to go to the police station and photographed him there. (Negron

PSAF Resp. ¶4).

           C. Homicides on August 30, 1994 and September 1, 1994

       On August 30, 1994, Carlos Olan, a member of the Insane Dragons gang, was killed in a

drive-by gang shooting. (DSOF Resp. ¶9). In the early morning hours of September 1, 1994,

Merkes and her friend Grande were visiting the apartment of Merkes’ boyfriend, Saez. (Id. ¶11).

They were joined by Saez’s cousin, Rodriguez. (Id.). Shortly after midnight, a car drove past

the apartment building carrying three occupants. (Id. ¶13). Gunshots were fired from the car.

(Id. ¶14). Merkes was shot and pronounced dead at the scene. (Id.). Rodriguez was shot and

died at the hospital. (Id.). Grande was shot and hospitalized but survived. (Id.). Saez dove

behind a nearby parked car and was not struck. (Id.). In the late afternoon of September 1, 1994,

Guevara and Halvorsen were assigned to investigate the Merkes/Rodriguez homicides and the

Olan homicide. (Id. ¶16).




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            D. Olszewski Arrests Almodovar on September 4, 1994 and Takes His Photo

        On September 4, 1994, Olszewski and others arrested Almodovar, his cousin (Sergio

Almodovar (“Sergio”)), and two other individuals at a property on N. Rutherford. (Id. ¶18). The

parties disagree as to what prompted the raid on the Rutherford property; however, it is

undisputed that Sergio was charged with possession of a sawed-off shotgun and that Almodovar

and the other two individuals were arrested and charged with “mob action.” (Id.). Olszewski

took Polaroid photos of the arrestees, including Almodovar, at the 25th District located at Grand

and Central on the evening of the arrest. (Id. ¶18; Dckt. #229-2 at 24). It was Olszewski’s usual

practice to take Polaroid photographs of all gang arrestees during their processing at the station

to compile intelligence about gangs and assist other officers. (DSOF Resp. ¶18).3

            E. Olszewski Provides Guevara and Halvorsen with Almodovar’s Photo After
               Almodovar’s September 4, 1994 Arrest

        At some point after the Rutherford arrest of Almodovar on September 4, 1994, but prior

to their conversation with an eyewitness of the Merkes/Rodriguez homicide on September 5,

1994, Halvorsen and/or Guevara went to the 25th District office seeking information about the

Insane Dragons. (Dckt. #229-5 at 39; Dckt. #229-11 at 6). The detectives were directed to

Olszewski, who provided them with the Polaroids he had taken during the September 4, 1994

arrest, including Almodovar’s photo. (Dckt. #229-5 at 39, 49; Dckt. #229-11 at 7). Other than

this interaction, Olszewski did not speak to Guevara or Halvorsen about the murders that

occurred on September 1, 1994. (Dckt. #229-5 at 52). It is undisputed that Olszewski did not

provide Negron’s photograph to either Guevara or Halvorsen, (Negron Dckt. #226 at 6). Instead,




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 Almodovar’s effort to dispute this fact is ineffectual because he relies on the allegations of his amended
complaint (which are not evidence) and portions of Olszewski’s deposition that are not in conflict with
the asserted fact. (see DSOF Resp. ¶18).


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the detectives obtained Negron’s photo from Chicago Police Department Crime Specialists Joe

Rodriguez and Ed Wiora. (DSOF Resp. ¶20).

            F. Guevara and Halvorsen Arrest Almodovar and Negron

        On September 5, 1994, Grande was released from the hospital and Guevara went to her

home to show her photos of certain individuals. (DSOF Resp. ¶22). It is Olszewski’s position

that upon viewing the photo array, Grande identified Almodovar as the person from the back seat

of the car that fired the gun, and Negron as the person who drove the car and also fired a gun.

(Dckt. #209-24 at 27).4

        Almodovar and Negron were arrested on September 11 and 12, 1994, respectively.

(DSOF Resp. ¶24). On September 12, 1994, Grande and Saez separately viewed a live line-up in

which both Almodovar and Negron were participants. (Id. ¶25). Both Grande and Saez

identified Almodovar and Negron as the perpetrators. (Id.). Almodovar and Negron were both




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  Plaintiffs attempt to dispute this fact based on Guevara’s deposition testimony where he invoked the
Fifth Amendment and refused to answer questions. (Dckt. #229-6 at 26). Although “‘constitutionally
protected, a civil litigant’s invocation of the privilege against self-incrimination during the discovery
process is far from costless.’” Aim Recycling of Fla., LLC v. Metals USA, Inc., No. 18-CV-60292, 2020
WL 209860, at *8 (S.D. Fla. Jan. 13, 2020), quoting United States v. Certain Real Prop. & Premises
Known as 4003-4005 5th Ave., 55 F.3d 78, 82 (2d Cir. 1995). As the Seventh Circuit has acknowledged,
“[t]he rule that adverse inferences may be drawn from Fifth Amendment silence in civil proceedings has
been widely recognized by the circuit courts of appeals, including our own . . .” LaSalle Bank Lake View
v. Seguban, 54 F.3d 387, 390 (7th Cir. 1995) (citing cases).

By relying on Guevara’s invocation of the Fifth Amendment to contest Olszewski’s factual assertion,
plaintiffs seem to implicitly urge this Court to draw an adverse inference against Olszewski based on
Guevara’s use of his privilege against self-incrimination. Without imputing Guevara’s conduct to
Olszewski, Guevara’s non-answers are simply non-answers as far as Olszewski is concerned and it does
not provide plaintiffs with any evidentiary basis to challenge Olszewski’s factual assertion. Although one
party’s invocation of the Fifth Amendment can be imputed to another party where it is “show[n] that the
circumstances of the particular case justify the imputation of the negative inference,” (see LiButti v.
United States, 107 F.3d 110, 122 (2d Cir. 1997)), plaintiffs have not even attempted to make the requisite
showing here, and the Court will not develop such an argument for them. Accordingly, because the Court
finds that the evidence cited by plaintiffs does not support their denial of this proffered fact, it is deemed
admitted. See N.D.Ill. Local Rule 56.1(b)(3).



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subsequently charged, indicted, and found guilty of the first-degree murders of Merkes and

Rodriguez, and the attempted first-degree murders of Grande and Saez. (Id. ¶¶25, 32).

        It is undisputed that Olszewski did not: (1) show any photos to Grande or Saez, (id. ¶38);

(2) arrest Almodovar or Negron for the Merkes/Rodriguez homicides, (id. ¶40); (3) interact with

Grande or Saez, (id. ¶37); (4) prepare any police reports related to the Merkes/Rodriguez

homicides, (id. ¶35);5 (5) interact with the prosecutors regarding the charging and prosecution of

Almodovar and Negron, (id. ¶41); or (6) testify at Almodovar or Negron’s underlying criminal

trials and post-conviction proceedings, (id. ¶¶42–43).

            G. Alleged Interaction Between Almodovar and Olszewski After Almodovar’s
               Arrest on September 12, 1994

        After Almodovar was identified by Grande and Saez, officers informed him that he was

being formally charged with the Merkes/Rodriguez murders. (PSAF Resp. ¶31). While

Almodovar was still in an interview room after being told he would be charged, Olszewski

opened the door of the room, stuck his head in and laughed, telling Almodovar, “got you.” (Id.).

III. DISCUSSION

         Olszewski moves for summary judgment on each of the federal and state claims lodged

against him on the grounds that plaintiffs cannot demonstrate he was personally involved in

culpable conduct that warrants holding him civilly liable. See e.g., Mitchell v. Kallas, 895 F.3d

492, 498 (7th Cir. 2018) (stating to be liable for any claim under Section 1983, a defendant must

be “personally responsible” for the alleged deprivation of the plaintiffs’ constitutional rights).


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  Plaintiffs dispute this fact based on their contention that Olszewski prepared an arrest report related to
the September 4, 1994 arrest at Rutherford, which was contained in the investigative file for the
Merkes/Rodriguez homicides. (DSOF Resp. ¶35 (citing Dckt. #229-19)). The arrest report does not
specifically mention the Merkes/Rodriguez homicides, and instead, summarily states “the Dragons are
currently at war with the [Latin] Disciples with numerous shootings in the past week.” (Dckt. #229-19 at
2). The Court finds that the evidence cited by plaintiffs does not support their denial of the proffered fact,
and it is therefore deemed admitted. See N.D.Ill. Local Rule 56.1(b)(3).


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Given that the Court’s jurisdiction over plaintiffs’ state law claims against Olszewski hinges on

the viability of their federal claims, the Court begins with plaintiffs’ federal claims. For the

reasons set forth below, the Court finds that plaintiffs’ federal claims against Olszewski cannot

survive summary judgment and relinquishes jurisdiction over plaintiffs’ state-law claims against

Olszewski.

   A. Plaintiffs Fail to Point to Sufficient Evidence to Support Their Fabrication and
      Conspiracy Claims.

       Plaintiffs contend that a reasonable jury could find Olszewski violated their rights by

conducting a pretextual arrest of Almodovar at the Rutherford house for the purpose of obtaining

his photograph to use in manipulating Grande and Saez’s false identifications. (Dckt. #231 at

17). Although plaintiffs cast this claim as one of fabrication—which requires plaintiffs to

demonstrate that Olszewski created evidence that he knew to be false, Anderson v. City of

Rockford, 932 F.3d 494, 510 (7th Cir. 2019)—it is, in essence, a claim under Section 1983 for

conspiracy—which requires plaintiffs to show that Olszewski was part of an agreement to

deprive them of their constitutional rights and took overt acts in furtherance of that agreement

that actually deprived them of their rights, Beaman v. Freesmeyer, 776 F.3d 500, 510 (7th Cir.

2015). The Court addresses both claims below.

             1. Plaintiffs Fail to Establish a Fabrication Claim Against Olszewski Because
                They Cannot Demonstrate that he Created Evidence he Knew to be False.

       A due process evidence-fabrication claim requires plaintiffs to “prove that a police officer

manufactured false evidence against [them], which was later used to deprive [them] of [their]

liberty in some way.” Moran v. Calumet City, 54 F.4th 483, 498 (7th Cir. 2022). To establish

this kind of due-process violation, plaintiffs must show that Olszewski created evidence that he




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knew to be false. Anderson, 932 F.3d at 510. Here, no reasonable jury could find that Olszewski

participated in creating the allegedly false evidence.

       Plaintiffs first assert that Olszewski, Guevara, and Halvorsen (the “Defendant Officers”)

fabricated evidence by eliciting false testimony from Grande and Saez, falsifying police reports,

obtaining plaintiffs’ convictions using false evidence, and failing to correct fabricated evidence

that they knew the be false when it was used against plaintiffs at trial. (Almodovar Compl. ¶141;

Negron Compl. ¶64). Yet, it is undisputed that Olszewski did not have any contact with Grande

and Saez, was not involved in eliciting testimony from Grande and Saez, did not prepare any of

the Merkes/Rodriguez investigative reports; and did not testify at plaintiffs’ trials. Because no

evidence suggests that Olszewski was involved in the creation of fabricated evidence, summary

judgment in his favor is proper on plaintiffs’ evidence-fabrication claims. Walker v. White, No.

16 CV 7024, 2021 WL 1058096, at *7 (N.D.Ill. Mar. 19, 2021) (awarding summary judgment in

favor of defendant officers where the record contained no evidence that the officers participated

in creating the fabricated photographs).

       Perhaps recognizing that fabrication claims against Olszewski—at least to the extent that

they center on testimony and police reports—fall short of the requirements to survive summary

judgment, Negron seemingly argues that the photographs of himself and Almodovar constitute

fabricated evidence. (Negron Dckt. #218 at 15). In support of his contention, Negron cites a

district court decision which held that misleading photographs, even where unaltered, can

support fabrication claims. See Grega v. Pettengill, 123 F.Supp.3d 517, 540 (D.Vt. Aug. 18,

2015) (denying defendants’ motion to dismiss based on plaintiffs’ allegation that the defendant

detective falsified evidence—in the form of a falsely contextualized photograph—that plaintiff

used a beer bottle to commit an assault). But Negron does not point to any evidence which




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suggests that the photographs taken by Olszewski were misleading and Grega does not suggest

that an undisputedly accurate photograph of Negron taken by Olszewski amounts to fabricated

evidence because it was later used by other detectives in an alleged false identification. In other

words: no reasonable jury could find that the photographs taken by Olszewski could serve as the

basis of plaintiffs’ fabrication claim because they were not false. See Anderson, 932 F.3 at 510

(plaintiff must show that the defendant created evidence he knew to be false.). Plaintiffs’ due

process evidence-fabrication claim against Olszewski, therefore, cannot survive summary

judgment.

            2. Plaintiffs Fail to Establish a Claim Under Section 1983 for Conspiracy
               Against Olszewski Because They Cannot Demonstrate that he Entered into
               an Agreement to Deprive Plaintiffs of their Constitutional Rights.

       The crux of plaintiffs’ claims against Olszewski is their contention that he acted in a

conspiracy with other officers to cause plaintiffs’ constitutional injury. A civil conspiracy is “a

combination of two or more persons acting in concert to commit an unlawful act, or to commit a

lawful act by unlawful means.” Grayson v. City of Aurora, 157 F.Supp.3d 725, 744 (N.D.Ill.

2016), quoting Scherer v. Balkema, 840 F.2d 437, 441 (7th Cir. 1988). To establish conspiracy

liability in a Section 1983 claim, plaintiffs must show that “(1) the individuals reached an

agreement to deprive [them] of [their] constitutional rights, and (2) overt acts in furtherance

actually deprived [them] of those rights.” See Beaman, 776 F.3d at 510 (cleaned up). “Although

an agreement may be inferred from circumstantial evidence, any such inference must be based

on more than speculation or conjecture.” Akbar v. Calumet City, 632 Fed.Appx. 868, 872 (7th

Cir. 2015) (citing Sow v. Fortville Police Dep’t, 636 F.3d 293, 304–05 (7th Cir. 2011)).

       Almodovar asserts that a reasonable jury could infer a conspiracy involving Olszewski

from the following facts: (1) Olszewski had a history of personal and racial animus toward




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Almodovar; (2) Guevara inquired about the Insane Dragons, prompting Olszewski to arrest

Almodovar at the Rutherford address as a pretense to obtain his Polaroid and frame him for the

Merkes/Rodriguez murders; (3) Olszewski provided Almodovar’s Polaroid to the detectives

who then used it as part of the photo array and lineups during which plaintiffs were falsely

identified; and (4) Olszewski expressed satisfaction when Almodovar was arrested when he

entered the interview room where Almodovar was being held and exclaimed, “got you!” This

evidence is either unsupported by the record or too speculative to raise a genuine issue of

material fact for several reasons.

       First, Almodovar’s theory of conspiracy centers largely on his assertion that Olszewski

orchestrated the Rutherford arrest and obtained Almodovar’s photograph after speaking with

Guevara. The record does not support this assertion. The Defendant Officers all testified that

Olszewski obtained Almodovar’s photograph before Guevara and/or Halvorsen came to the 25th

District office seeking information about the Insane Dragons. This distinction in the overall

timeline is subtle, but critical, because Almodovar fails to point to any contrary evidence from

which a reasonable jury could infer that Olszewski ever spoke to Guevera and Halvorsen about

the Merkes/Rodriguez murders prior to his obtaining Almodovar’s photo, let alone came to an

agreement with them to deprive Almodovar of his constitutional rights. See, e.g., Murray v.

Maderak, No. 99 C 1633, 2000 WL 705982, at *12 (N.D.Ill. May 22, 2000) (“Plaintiffs do not

point to any meeting or discussion had among Defendants during which they could have

plausibly agreed to violate Plaintiffs’ rights, and the court cannot proceed on unsupplied facts.”);

Lyons v. Adams, 257 F.Supp.2d 1125, 1134 (N.D.Ill. 2003) (awarding summary judgment on a

Section 1983 conspiracy claim arising out of a spontaneous beating where plaintiff failed to point




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to evidence that the beating was the product of any sort of agreement).6 Almodovar’s arguments

are further undermined by the fact that Olszewski provided the Polaroids taken of each of the

four individuals arrested at Rutherford to Guevara and Halvorsen. This indicates that Olszewski

did not single out Almodovar’s photo to provide to his alleged co-conspirators after they came to

the 25th District office seeking information about the Insane Dragons.

        Instead of providing any evidence that Olszewski had a meeting or discussion with the

defendant detectives prior to his obtaining Almodovar’s photograph, Almodovar’s conspiracy

claim rests on evidence that Olszewski disliked Almodovar, had a history of using reprehensible

racial slurs when speaking to him, and expressed happiness after he was arrested for the

Merkes/Rodriguez murders. However, even accepting these unsavory facts as true for purposes

of summary judgment, this evidence does not raise a genuine issue of material fact as to

plaintiffs’ conspiracy claim. See, e.g., Dawson v. Brown, 81 F.Supp.3d 670, 680-81 (C.D.Ill.

2015), aff’d, 803 F.3d 829 (7th Cir. 2015).

        In Dawson, the plaintiff alleged that the defendant officers (Warnisher, Brown, and

Stirmell) conspired with one another to deprive him of his statutory and constitutional rights

during a physical altercation in plaintiff’s driveway. Id. at 680. The Dawson court found there

was no evidence that officers Warnisher and Brown had any relationship with Officer Stirmell

prior to the night of the incident, such that plaintiff’s evidence of a conspiracy was entirely

speculative and insufficient to withstand summary judgment. Id. The court further noted that

the officers were recorded on a digital device in Officer Stirmell’s car joking about the incident

after the plaintiff’s arrest. Id. at 681. The Court explained that this evidence was insufficient to


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  See also Goetzke v. Ferro Corp., 280 F.3d 766, 778 (7th Cir. 2002) (explaining that numerous phone
calls between alleged co-conspirators, “standing alone, merely proves that [the alleged co-conspirators]
remained in contact,” and “[t]o assert that the calls are evidence of a conspiracy is simply speculation”).



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show that the officers conspired to deprive plaintiff of his constitutional rights despite the fact

that the evidence demonstrated that Officer Stirmell had a negative opinion of the plaintiff prior

to the incident. Id.

          Similarly, here, evidence of Olszewski’s personal animus toward Almodovar prior to his

arrest for the Merkes/Rodriguez murders is insufficient to raise an issue of fact as whether

Olszewski entered into a conspiracy with Guevara and Halvorsen to deprive Almodovar of his

constitutional rights. See Chamberlain v. City of White Plains, 986 F.Supp.2d 363, 389

(S.D.N.Y. 2013) (allegations of prior federal civil rights lawsuits against defendants which

alleged that they used racial or ethnic slurs and engaged in other deprivations of the

constitutional rights of minority groups was not sufficient to suggest a meeting of the minds to

effectuate a deprivation of constitutional rights).

          Nor does the admittedly close timing between when Olszewski took the photograph of

Almodovar and when he provided Almodovar’s picture (among pictures of other Insane

Dragons) to defendant detectives suffice to raise an issue of fact as to Olszewski’s participation

in the alleged conspiracy in light of the undisputed facts – described above in Section II(F) –

showing that Olszewski was otherwise uninvolved in the arrest and prosecution of Almodovar

(and Negron) for the Merkes/Rodriguez homicides. See, e.g., Walker, 2021 WL 1058096, at *15

(finding insufficient evidence of a conspiracy where a defendant officer—who admittedly was

initially on patrol with the officers who allegedly conspired to plant drugs—did not arrest

plaintiff, speak to plaintiff, recover any drug evidence, write a case report, or testify at plaintiff’s

trial).

          Negron’s conspiracy argument fares no better. In essence, Negron asserts that Olszewski

furthered the conspiracy by obtaining Negron’s photo before the defendant detectives used it in




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the photo array. (Negron Dckt. #218 at 19). This argument is simply too speculative to raise a

genuine issue of material fact. Like Almodovar, Negron fails to point to any evidence from

which a reasonable jury could infer that Olszewski came to an agreement with Guevara and

Halvorsen to deprive Negron of his constitutional rights—particularly where Olszewski took

Negron’s photograph well before the Merkes/Rodriguez homicides and Negron admits that

Guevara and Halvorsen obtained the photograph from a different officer. See, e.g., Murray, 2000

WL 705982, at *12; Lyons, 257 F.Supp.2d at 1134.

       In sum: because plaintiffs have failed to offer sufficient evidence to create a genuine

dispute of fact as to whether Olszewski entered an agreement to violate their constitutional

rights, their conspiracy claims cannot survive summary judgment.

   B. Plaintiffs Have Not Established Personal Involvement Sufficient to Maintain a
      Federal Malicious Prosecution Claim

       To state a claim for malicious prosecution under Section 1983, a plaintiff “must do more

than merely claim that [defendants] arrested and detained him without probable cause.”

Snodderly v. R.U.F.F. Drug Enf’t Task Force, 239 F.3d 892, 901 (7th Cir. 2001) (citing Sneed v.

Rybicki, 146 F.3d 478, 481 (7th Cir. 1998)). “[R]ather, he must allege that the officers

committed some improper act after they arrested him without probable cause, for example, that

they pressured or influenced the prosecutors to indict, made knowing misstatements to the

prosecutor, testified untruthfully, or covered up exculpatory evidence.” Id. (citing Reed v. City of

Chi., 77 F.3d 1049, 1053-54 (7th Cir. 1996)).

       Here, plaintiffs have not pointed to any evidence that Olszewski exerted any pressure or

influence on the prosecutors either to apply for the arrest warrant or to indict plaintiffs; made

knowing misstatements to the prosecutors; or testified falsely at any subsequent adversarial

proceeding. Supra, at Section II(F). Absent any evidence that Olszewski played an essential or



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influential role in seeking or procuring the arrest warrant or indictment, plaintiffs’ federal

malicious prosecution claims against him are insufficient to withstand summary judgment.

   C. Plaintiffs’ Failure to Intervene Claim Fails

       Plaintiffs allege that Olszewski is liable for failing to intervene in the alleged illegal

activities of Guevara and Halvorsen. To succeed on this claim, plaintiffs must demonstrate that

Olszewski (1) knew that a constitutional violation was committed; and (2) had a realistic

opportunity to prevent it. Gill v. City of Milwaukee, 850 F.3d 335, 342 (7th Cir. 2017).

“Whether an officer had sufficient time to intervene or was capable of preventing the harm

caused by the other officer is generally an issue for the trier of fact unless, considering all the

evidence, a reasonable jury could not possibly conclude otherwise.” Lanigan v. Village of East

Hazel Crest, Ill., 110 F.3d 467, 478 (7th Cir. 1997). On this record plaintiffs’ failure to intervene

claims do not survive summary judgment.

       Almodovar asserts that even if Olszewski was not personally involved in compiling the

photo arrays, the witness line-ups, the reports, or interacting with prosecutors at plaintiffs’

criminal trial, he still had the opportunity to prevent these actions by declining to obtain a photo

of Almodovar without first inquiring about its use. (Dckt. #231 at 31). But Almodovar’s

arguments rest on an unsupported read of the factual record. As explained above, although

Olszewski obtained Almodovar’s photo, there is no evidence in the record that he did so after

speaking to the defendant detectives or that he obtained the photo at their direction. Almodovar

does not otherwise point to a single fact in the record which shows or supports the reasonable

inference that Olszewski was involved or knew of the alleged constitutional violations, beyond

providing the photo of Almodovar that he previously procured. There are no facts suggesting




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Olszewski knew of and condoned, facilitated, or otherwise approved of any of the

unconstitutional conduct.

       Negron similarly argues that Olszewski could have refused to provide Negron’s

photograph and that he could have spoken up before Negron’s conviction to expose the alleged

conspiracy to frame him. (Negron Dckt. #218 at 23–24). But Negron fails to point to a single

fact in the record which shows or supports a reasonable inference that Olszewski provided

Negron’s photo to the defendant detectives or that Olszewski was involved or knew of the

alleged constitutional violations.

       Therefore, summary judgment on plaintiffs’ failure to intervene claim is granted in

Olszewski’s favor. See Collins, et al., v. City of Chicago, et al., No. 21-CV-02913, 2024 WL

5007836, at *10 (N.D.Ill. Dec. 6, 2024) (granting summary judgment where plaintiffs did not

“point to a single fact in the record that would tend to show [the officer] could have intervened”

in the alleged constitutional violation).

   D. The Court Relinquishes Jurisdiction Over Plaintiffs’ State Law Claims

       With the federal claims dismissed, plaintiffs’ state law claims against Olszewski for

malicious prosecution, civil conspiracy, intentional infliction of emotional distress, respondeat

superior, and indemnification remain. The Seventh Circuit has described a “sensible

presumption that if the federal claims drop out before trial, the district court should relinquish

jurisdiction over the state-law claims.” Williams Elecs. Games, Inc. v. Garrity, 479 F.3d 904,

907 (7th Cir. 2007). Accordingly, the Court, in its discretion, declines to exercise supplemental

jurisdiction over plaintiffs’ pendent state law claims. See Carlsbad Tech. Inc. v. HIF Bio, Inc.,

556 U.S. 635, 639 (2009) (“A district court’s decision whether to exercise [supplemental]

jurisdiction after dismissing every claim over which it had original jurisdiction is purely




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discretionary.”); 28 U.S.C. §1367(c)(3). Accordingly, plaintiffs’ state law claims against

defendants are dismissed without prejudice so that they may be pursued in a state forum.

Doxtator v. O’Brien, 39 F.4th 852, 867 (7th Cir. 2022) (“Without any federal claims over which

it had original jurisdiction, the district court’s decision not to exercise supplemental jurisdiction

over the pendent state law claims was not an abuse of discretion.”).

                                          CONCLUSION

       For the foregoing reasons, defendant Olszewski’s motions for summary judgment,

(Almodovar Dckt. #207; Negron Dckt. #193), are granted as to plaintiffs’ federal claims and the

Court relinquishes jurisdiction over the state law claims that plaintiffs assert against Olszewski

and dismisses those state law claims without prejudice.



Date: January 10, 2025




                                                               ________________________
                                                               Jeffrey I. Cummings
                                                               United States District Court Judge




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